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                                  MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles         Date: March 6, 2025
USA v. Ibrahim Al-Amreeki                        Case Number: CR-23-50159-001-PHX-DLR

Assistant U.S. Attorney: Dimitra Sampson for Brian E. Kasprzyk
Attorney for Defendant: Luke Stephen Mulligan, Assistant Federal Public Defender
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

INITIAL APPEARANCE – REVOCATION HEARING HELD RE: PETITION FOR
VIOLATION OF SUPERVISED RELEASE
Date of Arrest: March 5, 2025
☒ NO Financial Affidavit taken; Defendant sworn as to financial status.
☒ Appointing attorney Luke Stephen Mulligan, Assistant Federal Public Defender, on behalf of the
   defendant for Flagstaff proceedings only.
Defendant ☐ ADMITS ☒ DENIES allegation (s) set forth in the Petition

OTHER: Petition to Revoke shall be unsealed.

DETENTION HEARING              ☐ Held ☐ Continued ☒ Submitted ☐ UA
☒ Defendant Ordered detained pending disposition as both a flight risk and a danger.

PRELIMINARY REVOCATION HEARING ☐ Held ☐ Continued ☐ Submitted ☒ Waived
☒ Probable cause found ☐ Dismissed ☒ Held to answer before District Court

Counsel are instructed to complete and file the "Consent of Defendant" form prior to the Admit/Deny
Hearing. The form is now available on the District of Arizona Website under "Rules, General Orders &
Forms: Consent of Defendant." If counsel are unable to file the form prior to the hearing, they are
permitted to submit the form to the Magistrate Courtroom Clerk prior to the hearing.

Admit/Deny Hearing set for Thursday, March 20, 2025, at 10:15 a.m. before Magistrate Judge Michael
T. Morrissey in courtroom 304, 401 West Washington Street, Phoenix, Arizona

Recorded By Courtsmart                                                         IA      3 min
Deputy Clerk Christina Davison                                                 PH      1 min
                                                                               DH      1 min

                                                                               Start: 10:55 am
                                                                               Stop: 11:00 am
